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    IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

         MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION




UNITED STATES OF AMERICA           )
                                   )     CRIMINAL ACTION NO.
    v.                             )          3:94cr25-T
                                   )              (WO)
STANLEY QUINCY JOHNSON             )
a/k/a STAN                         )

                                 ORDER

    It is ORDERED that the Probation Department’s petition

to modify the conditions of supervised release (Doc. No.

1006) is granted and the conditions of supervised release

are modified as requested.

    DONE, this the 27th day of April, 2005.



                             /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
